  Case 1:17-cv-00193-GJQ-RSK ECF No. 9 filed 01/02/18 PageID.38 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

JAMES ANDERLOHR,              )
                              )                       1:17-cv-00193-GJQ-RSK
             Plaintiff,       )
                              )                       Judge Quist
    v.                        )                       Magistrate Kent
                              )
SOUTHWEST CREDIT SYSTEMS, LP, )
                              )
             Defendant.       )

                      STIPULATION TO DISMISS WITH PREJUDICE

       By agreement, the parties to the above-captioned action, by and through their respective

attorneys, state as follows:

       1.      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

               parties hereby stipulate and agree that the above-captioned action should be

               dismissed.

       2.      The parties, by agreement, respectfully request that this case be dismissed with

               prejudice and without costs to any party.

Date: January 2, 2018

For Plaintiff,                                      For Defendant,
James Anderlohr                                     Southwest Credit Systems, LP

  /s David M. Marco                                   /s with consent Charity A. Olson
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